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                    7
                    8                              UNITED STATES DISTRICT COURT
                    9                                      DISTRICT OF ARIZONA
                   10
                   11 Noel Hendrix,                                     Case No. CV-20-01595-PHX-SPL
                   12                         Plaintiff,                JOINT REPORT REGARDING
                                                                        SETTLEMENT DISCUSSIONS [DOC.
                   13             vs.                                   29]
                   14 Chipotle Mexican Grill, Inc., a Delaware
                      Corporation,
                   15
                                        Defendant.
                   16
                   17            The Parties, by and through their respective undersigned counsel, hereby submit this
                   18 Joint Report regarding settlement discussions pursuant to the Court’s Rule 16 Case
                   19 Management Order [Doc. 29].
                   20            The Court’s Rule 16 Case Management Order required the Parties to meet in person
                   21 and engage in good faith settlement talks no later than July 7, 2021, and file a Joint Report
                   22 no later than five (5) working days after the July 7, 2021, deadline regarding their settlement
                   23 discussions.
                   24            The Parties engaged in good faith settlement discussions in advance of the July 7,
                   25 2021, deadline. The Parties agreed to attend mediation, which has been scheduled with
                   26 mediator Amy Lieberman on July 15, 2021.
                   27 / / /

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BRISBOIS
BISGAARD
& SMITH LLP
ATTORNEYS AT LAW
                        4844-0023-4481.1
                             Case 2:20-cv-01595-SPL Document 30 Filed 07/13/21 Page 2 of 2




                   1             DATED this 13th day of July 2021.
                   2                                                 LEWIS BRISBOIS, BISGAARD & SMITH,
                                                                     LLP
                   3
                                                                     By /s/ Erica K. Rocush
                   4                                                       Erica K. Rocush
                   5                                                       Attorneys for Defendant Chipotle Mexican
                                                                           Grill, Inc.
                   6
                                                                     ZOLDAN LAW GROUP, PLLC
                   7
                   8                                                 By /s/ Michael Zoldan (with permission)
                                                                           Michael Zoldan
                   9                                                       Attorneys for Plaintiff
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                                                        CERTIFICATE OF SERVICE
                   16
                                 I hereby certify that on July 13, 2021, I electronically transmitted the foregoing to the
                   17
                        Clerk’s office using the Court’s CM/ECF System and thereby served all counsel of record
                   18
                        in this matter.
                   19
                                                                   Jason Barrat
                   20                                            Michael Zoldan
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                   24
                   25
                   26
                        /s/ Rena Crockett
                   27

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